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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :
       v.                                     :       Criminal No. 21-cr-399 (RDM)
                                              :
ROMAN STERLINGOV,                             :
                                              :
                       Defendant.             :

       SUMMARY OF QUALIFICATIONS AND EXPECTED TESTIMONY FOR
                       THEODORE VLAHAKIS

       The government intends to call Theodore Vlahakis to testify at trial. Mr. Vlahakis is a

Senior Compliance Officer in the Enforcement Division of the U.S. Department of Treasury’s

Financial Crimes Enforcement Network (FinCEN). Mr. Vlahakis has worked at FinCEN since

2009 in multiple roles that have developed his expertise in the statutes and regulations that FinCEN

is responsible for enforcing to safeguard the financial system from illicit use, combat money

laundering, and promote national security. Mr. Vlahakis serves as a FinCEN subject matter expert

on financial institutions’ registration, recordkeeping, reporting, and program requirements to

comply with the Bank Secrecy Act (BSA), the USA PATRIOT Act, and other relevant statutes

and regulations enforced by FinCEN. Mr. Vlahakis is responsible for advising senior FinCEN

management on enforcement actions and strategy, examining filings submitted by financial

institutions, and reviewing FinCEN enforcement decisions and informational materials. Mr.

Vlahakis regularly represents FinCEN before other federal agencies, industry groups, and foreign

officials, and conducts trainings and presentations about FinCEN’s authorities and regulatory

requirements. Mr. Vlahakis performs detailed Suspicious Activity Report (SAR) analyses and has

overseen Currency Transaction Report (CTR) processes. Prior to his current position, Mr.

Vlahakis served as the Chief of FinCEN’s Resource Center where he oversaw FinCEN’s



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Regulatory Helpline, which provides basic and interpretive guidance for inquiries received from

industry, regulators, and law enforcement regarding BSA regulations, reports, and published

rulings. Mr. Vlahakis also served as a BSA Resource Specialist at FinCEN, where he provided

guidance regarding SAR filing requirements to financial institutions, advised money services

businesses (MSBs) of their anti-money laundering program requirements, and conducted outreach

to potentially unregistered money services businesses to assist the with their registration, reporting,

and recordkeeping requirements. Mr. Vlahakis’ additional qualifications, training, experience, and

certifications are detailed in his curriculum vitae, which has been provided to defense counsel

under separate cover and is incorporated into this notice by reference.

       Mr. Vlahakis will provide testimony about FinCEN’s role and responsibilities to oversee

and enforce federal anti-money laundering laws and rules. Mr. Vlahakis will describe the BSA

and its related regulations, their purpose, and how they govern money transmitting and work to

combat criminal activity. Mr. Vlahakis is expected to explain what MSBs and money transmitters

are, how those entities must register with FinCEN, and why these registration requirements exist.

Mr. Vlahakis may also provide an overview of MSBs’ additional state-imposed registration

requirements. Mr. Vlahakis will provide testimony describing the types of records MSBs must

keep, what reports they are required to file, including SARs and CTRs, and how these reports help

advance anti-money laundering efforts. Mr. Vlahakis is also expected to testify about other anti-

money laundering compliance requirements that MSBs must implement and what resources exist

to help MSBs comply with their FinCEN-enforced obligations.

       Mr. Vlahakis is expected to testify about how the BSA and other federal laws and

regulations enforced by FinCEN apply to certain entities handling cryptocurrency transactions.

Mr. Vlahakis will provide testimony about how U.S. federal anti-money laundering laws and




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regulations apply to MSBs located abroad that conduct transactions with U.S.-based customers.

Mr. Vlahakis will also testify that Bitcoin Fog was not registered as an MSB with FinCEN and

that FinCEN did not receive any reports from Bitcoin Fog regarding any transactions or suspicious

activity.

        Mr. Vlahakis is being noticed here due to his specialized knowledge. He will not be asked

to opine as to whether Bitcoin Fog should have registered with FinCEN and/or whether the

defendant violated the law by failing to register. That issue will be left to the court in its jury

instructions and to the finder of fact.

        Mr. Vlahakis has previously testified at trial in the following matters:

            •   U.S. v. Barakat et al. (trial of Abdulrahman Khwaja), 2:18-cr-292 (E.D.N.Y)

            •   U.S. v. Mukarram, 19-cr-772 (D.N.J.)

            •   U.S. v. Ian Freeman et al (trial of Ian Freeman), 21-cr-041 (D.N.H.)

            •   U.S. v. Dimitre Hadjiev, 19-cr-548 (E.D. Pa.)

            •   U.S. v. Goklu, 19-cr-386, (E.D.N.Y.)

            •   U.S. v. Rasulov et al (trial of Djonibek Rahmankulov), 20-cr-653 (SDNY)

            •   U.S. v. Jason Williams & Nicole Burdett, 20-cr-055 (E.D. La.)

            •   U.S. v. Randall Crater, 19-cr-10063 (D. Ma.)

            •   U.S. v. Martins et al. (trial of Olufolajimi Abegunde & Javier Luis Ramos Alonso)

                2:17-cr-20238 (W.D.T.N.)

            •   U.S. v. Luis Diaz Jr. and Luis Javier Diaz, 17-cr-00077 (S.D.N.Y.)

        Mr. Vlahakis has not authored any publicly published works in the past 10 years.




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                                           Respectfully submitted,
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                           Witness Attestation
I, Theodore Vlahakis, have reviewed and approve the contents of this filing.


__________________________                  05/16/2023
                                            _________________
       Theodore Vlahakis                            Date




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